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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                                               CASE NUMBER:
BRYCE ABBINK
                                              PLAINTIFF(S),         2:19−cv−05435

       v.

EXPERIAN INFOMATION SOLUTIONS INC, et al.
                                                                      NOTICE OF INTRA-DISTRICT
                                           DEFENDANT(S).
                                                                    TRANSFER BY CLERK OF COURT


To: All Counsel Appearing of Record

    Due to clerical error, this case was improperly assigned to the    Division of this District. Pursuant to
General Order 19-03 this case is hereby transferred to the    Division for all further proceedings.

X      Case was opened in the CM/ECF System by counsel, and provisionally assigned to a division of this Court.
After review of the pleadings, pursuant to the General Orders of the Court, this case is hereby transferred to
the Southern Division.

    This case has been reassigned to case number 8:19−cv−01257−JFW−PJWx and has been assigned to
 Judge John F. Walter for all further proceedings.

     Any matters that are or may be referred to a Magistrate Judge are hereby assigned to Magistrate Judge
Patrick J. Walsh for:

            X any discovery and/or post-judgment matters that may be referred.

             for all proceedings in accordance with General Order 05-07.

    All subsequent documents filed must reflect the new case number and newly assigned District
Judge’s/Magistrate Judge’s initials as follows: 8:19−cv−01257−JFW−PJWx . Unless documents are exempted
from electronic filing, they must be filed electronically on the docket under the new case number.

      Please be advised that no further filings may be made under case number 2:19−cv−05435 . Any such
filings made after the date of entry of this Notice may not be reviewed or considered by the Court.


                                                                        Clerk, U.S. District Court

                                                                        By: /s/ Carmen Reyes
                                                                        carmen_lujan@cacd.uscourts.gov
                                                                           Deputy Clerk


cc: Previously assigned Judge/Magistrate Judge; Deputy-In-Charge;
Statistics Clerk



G−73 (03/19)          NOTICE OF INTRA−DISTRICT TRANSFER BY CLERK OF COURT
